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                     IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

VICKI TIMPA, et al.,                         §
                                             §
       Plaintiffs,                           §
                                             §
v.                                           §           Civil Action No. 3:16-CV-3089-N
                                             §
DUSTIN DILLARD, et al.,                      §
                                             §
       Defendants.                           §

                                         ORDER

       This Order addresses Defendants Dustin Dillard, Danny Vasquez, Raymond

Dominguez, Domingo Rivera, and Kevin Mansell’s (“DPD Defendants”) motion for leave

to depose an incarcerated witness [218] and motion for finding of good cause to obtain

substance abuse treatment records [222]. For the reasons set forth below, the Court grants

the motions.

                              I. ORIGINS OF THE MOTIONS

       The circumstances giving rise to this litigation have been detailed in prior court

orders, see Mem. Op. & Order Summ. J. [173]; Timpa v. Dillard, 20 F.4th 1020 (5th Cir.

2021), and are not recounted in great detail here. On remand, Plaintiffs’ Fourth

Amendment excessive force and bystander liability claims remain.

       DPD Defendants filed the instant motions seeking to depose an incarcerated

witness, Frederick Johnson, and obtain substance abuse treatment records from various

rehabilitation facilities. The DPD Defendants argue that the information sought may shed

light on Mr. Timpa’s activities on the night of his death and therefore inform both the cause

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of death and damages analyses. Plaintiffs oppose the DPD Defendants’ request, arguing

that the motions are untimely under the scheduling order, seek information that would be

inadmissible at trial, and violate 42 U.S.C. Section 290dd-2(c)’s prohibition on law

enforcement access to substance abuse treatment records.

                           II. THE COURT GRANTS THE MOTIONS

         After reviewing the parties’ briefs and considering the arguments, the Court

concludes that the information sought by the DPD Defendants is relevant to the claims and

defenses at issue in this case.1 Both motions seek information touching on the issues of

cause of death and damages. Because objections made under the Federal Rules of Evidence

do not apply at the discovery stage, the Court declines to consider them. The motions are

not untimely, as DPD Defendants filed them prior to the close of fact discovery on February

10, 2023. Therefore, the Court declines to apply the good cause standard required to amend

scheduling order deadlines.           Furthermore, the law enforcement prohibition in

42 U.S.C. § 290dd-2(c) is not applicable, as the DPD Defendants are not utilizing the

requested information for any law enforcement purpose. Lastly, 42 U.S.C. § 290dd-

2(b)(2)(C) requires that in the absence of written consent from the patient, their personal

representative under state law, or any responsible member of the patient’s family, the Court

must make a determination of good cause before substance abuse treatment records may

be released. The Court finds that there are no other available means for the DPD

Defendants to acquire the information, and that the public interest and need for disclosure



1
    The Court expresses no opinion as to the admissibility of this information at trial.
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outweigh the harms to the patient and the physician-patient relationship. See 42 C.F.R.

§ 2.64(d). As such, the Court finds there is good cause for the Rehabilitation Facilities to

release the requested records.

                                      CONCLUSION

       Accordingly, the Court grants leave to the DPD Defendants to conduct a deposition

of Frederick Johnson on a date agreed upon by the parties’ attorneys and jail staff.

Furthermore, the Court directs the Rehabilitation Facilities to comply with the DPD

Defendants’ subpoenas and produce the requested records.



       Signed March 14, 2023.




                                                        ___________________________
                                                               David C. Godbey
                                                        Chief United States District Judge




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